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     Case 4:16-cv-00461-A Document 1 Filed 06/13/16                   Page 1 of 8 PageID 1
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                           '                                                  v'         ERN DISTRICT OF 'J LXAS
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                               UNITED STATES DISTRICT COU T                                                                 11




TAMMY F ARJAS
                                NORTHERN DISTRICT OF TEX s
                                   FORT WORTH DIVISION

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          Plaintiff                              )      CIVIL ACTION NO.                                           -·~"-·····"'
v.                                               )
                                                 )
JPMORGAN CHASE & COMPANY                         )
          Defendant.                             )
                                                 )     TRIAL BY JURY DEMANDED




                                         ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Plaintiff Tammy Farias, complains of JPMorgan Chase & Company Defendant, and for

cause of action would respectfully show as follows:


                                  PRELIMINARY STATEMENT

   1. This is an action for damages brought by Plaintiff Tammy Farias against Defendant

       JPMorgan Chase & Company for violations of the Telephone Consumer Protection Act

       (TCPA), 47 U.S.C. § 227(b)(l)(A)(iii).

   2. Defendant called Plaintiffs' cellular telephone number using an automated telephone

       dialing system and should be fully aware that Defendant had no prior express or implied

       consent to call the cellular telephone.

   3. Plaintiff contends that the Defendant has acted voluntarily, intentionally and under its

       own free will and knew or should have known that Defendant was engaged in acts that

       constitute violations of several statues.




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                               JURISDICTION AND VENUE

4.     Jurisdiction of this Court arises under 47 U.S.C. §227(b)(3).

5. This Court has jurisdiction over Defendant pursuant to 28 U.S.C. § 1391 b because

      Defendant engages in business within this state, to wit debt collection.

6. Venue is proper pursuant to 28 U.S.C. §1391b and 47 U.S.C. §227(b)(3).

7. Venue in the Northern District of Texas, Fort Worth Division is proper in that the

      Plaintiff resides in State of Texas, Tarrant County, City of Fort Worth, the Defendant

      transacts business here, and the conduct complained of occurred here.


                                            PARTIES

8.     The Plaintiff in this lawsuit is Tammy Farias, (Mrs. Farias) a natural person and a citizen

      of Tarrant County, Texas.

9. Defendant in this lawsuit is JPMorgan Chase & Company (herein after "JPMorgan

      Chase") a company with principal office at 270 Park Avenue, New York, NY 10017.

I 0. JPMorgan Chase may be served with process by serving its registered agent for service of

      process: C T Corporation System, 1999 Bryan St., Ste 900, Dallas, TX 75201.




                                      Original Complaint                               Page 2 of7
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                                FACTUAL ALLEGATIONS


II. The cellular telephone number (682) 215-2444 is assigned to Ms. Farias at all times in

   question.

12. The following telephone numbers are assigned to JPMorgan Chase:

       1. (313) 962-8595
       2. (800) 992-7169
       3. (214) 451-3187

13. JPMorgan Chase called Mrs. Farias cellular telephone number on the following dates and

   times:

       1. October 15,2015 at 8:12a.m.            11.   November 09, 2015 at 06:54p.m.
       2. October 19,2015 at 09:27a.m.           12.   November 18,2015 at 08:42a.m.
       3. October 21,2015 at 12:00 p.m.          13.   November 19,2015 at 08:24a.m.
       4. October 22, 2015 at 12:46 p.m.         14.   November 27,2015 at 08:24a.m.
       5. October 26,2015 at 02:48p.m.           15.   December 05,2015 at 08:30a.m.
       6. October 27,2015 at 02:34p.m.           16.   December 13,2015 at 08:22a.m.
       7. October 28,2015 at 02:02p.m.           17.   December 21, 2015 at 08:12a.m.
       8. October 29,2015 at 08:33a.m.           18.   December 29,2015 at 10:06 a.m.
       9. November 04, 2015 at 06:07p.m.         19.   January 06,2016 at 08:59a.m.
       10. November 08,2015 at 01:18p.m.

14. On January 30,2016, Mr. Farias received the phone call from (313) 962-8595 and there

   was a period of silence before the representative came on the line. Ms. Farias was

   informed that the representative was calling from Chase. Mr. Farias informed the

   representative to stop calling.

15. On February 07,2016 at 09:53a.m., Ms. Farias received another call form (313) 962-

   8595, and again there was a period of silence before a representative came on the line.

   Mr. Farias was informed that the representative was calling from Chase. Mr. Farias

   informed the representative a second time to stop calling.




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16. On February 13,2016, Mrs. Farias sent a written communication via United States Postal

   Service Certified Mail to JPMorgan Chase informing them that they did not have express

   permission to call her cellular telephone number.

17. Mrs. Farias informed JPMorgan Chase two times verbally to stop calling and once via a

   written communication. Despite three separate requests to JPMorgan Chase to stop

   calling, Mrs. Farias received additional calls on the following dates:

       I.   February II, 2016 at 02:28p.m.
       2.   February 16,2016 at 09:30a.m.
       3.   March 29, 2016 at 04:08p.m.
       4.   March 29,2016 at 04:17p.m.
       5.   Aprill2, 2016 at 03:38p.m.

18. Upon information and good faith belief, the telephone calls identified above were placed

   to Mrs. Farias wireless phone number using an automatic telephone dialing system

   (AIDS) as defined by the Federal Communications Commission (FCC).

19. Upon information and belief, Mrs. Farias received additional calls to her cellular phone

   from JPMorgan Chase that she was not able to document. Mrs. Farias intends to obtain

   the phone records of JPMorgan Chase through the discovery process.

20. Upon information and belief, JPMorgan placed the calls to Mrs. Farias wireless telephone

   number voluntarily.

21. Upon information and belief, JPMorgan Chase placed the calls to Mrs. Farias wireless

   telephone number under its own free will.

22. Upon information and belief, JPMorgan Chase had knowledge that it was using an

   automatic telephone dialing system to place each of the telephone calls identified above.

23. Upon information and belief, JPMorgan Chase intended to use an automatic telephone

   dialing system to place each of the telephone calls.



                                   Original Complaint                               Page 4 of7
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24. Upon information and belief, .JPMorgan Chase maintains business records that show all

   calls placed by JPMorgan Chase to Mrs. Farias cellular telephone number.

25. JPMorgan Chase called Mrs. Farias cellular phone for a non-emergency purpose.

26. Mrs. Farias has no prior or present established relationship with JPMorgan Chase.

27. The acts alleged herein all took place in Tarrant County, Texas in that the

   communications were received there.

28. JPMorgan Chase used an automatic telephone dialing system to dial Mrs. Farias cellular

   telephone from phone numbers as defined by the Telephone Consumer Protection Act, 47

   U.S.C. §227(a)(l).




                                    Original Complaint                            Page 5 of7
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                                          COUNT I

     VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT
  47 U.S.C. §227(b)(l)(A) BY DEFENDANT JPMORGAN CHASE & COMPANY

29. Paragraphs 1 through 28 are re-alleged as though fully set forth herein.

30. Mrs. Farias and JPMorgan Chase do not have an established business relationship within

   the meaning of 47 U.S.C. §227(a)(2).

31. JPMorgan Chase called Mrs. Farias cellular telephone using an "automatic telephone

   dialing system" within the meaning of 47 U.S.C. §227(a)(l).

32. 47 U.S.C. §227(b)(l)(A) which states in part;

   (b) RESTRICTIONS ON THE USE OF AUTOMATED TELEPHONE EQUIPMENT.-

        (1) PROHIBITIONS.-lt shall be unlawful for any person within the United States,
        or any person outside the United States if the recipient is within the United States-

                   (A) to make any call (other than a call made for emergency purposes or
                       made with the prior express consent ofthe called party) using any
                       automatic telephone dialing system or an artificial or prerecorded
                       voice-

33. In each telephone communication referenced in ~13,    ~14, ~15,   and ~17 JPMorgan Chase

   has demonstrated willful or knowing non-compliance with 47 U.S.C. § 227 (b)(l)(A) by

   using an automatic telephone dialing system or used a telephone dialing system that has

   the capacity to automatically call Mrs. Farias cellular telephone number, which is

   assigned to a cellular telephone service with no prior express consent and for no

   emergency purpose.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:


   a) Adjudging that Defendant violated the Telephone Consumer Protection Act and/or

       admission from the Defendant(s) that they violated the Telephone Consumer

       Protection Act;

                                    Original Com plaint                             Page 6 of7
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       b) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C §227(b)(3)(B); which

           states in part: an action to recover for actual monetary loss form such a violation, or

           to receive $500 in damages for each such violation, whichever is greater.


       c) Awarding Plaintiff statutory damages, pursuant to 47 U.S.C §227(b)(3)(C); which

           states in part: If the Court finds that the Defendant willfully or lmowingly violated

           this subsection or the regulations prescribed under this subsection, the Court may, in

           its discretion, increase the amount of the award to an amount equal to not more than 3

           (three) times the amount available under subparagraph (B) of this paragraph.


       d) Awarding such other and further relief as the Court may deem just and proper.




                               DEMAND FOR JURY TRIAL

Plaintiff is entitled to and hereby demands trial by jury.

                                                       Dated: June l 0, 2016

                                                       Respectfully Submitted,



                                                             \W. ),l)l\ ~A           -
                                                       Tammy F~           "I.J<.;.tj!;l
                                                       1413 Clinton Ave.
                                                       Fort Worth, TX 76164
                                                       (817) 658-5353
                                                       tammyfarias@yahoo.com




                                         Original Complaint                               Page 7 of7
                           Case 4:16-cv-00461-A Document 1 Filed 06/13/16                                                                    Page 8 of 8 PageID 8
JS 44.TXND (Rev. 11115)                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is requtred for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUC710NSON NEXT PAGH OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
Tammy Farias                                                                                                JPMorgan Chase & Company

    (b) County of Residence of First Listed Plaintiff Tarrant                                                 County of Residence of First Listed Defendant
                           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                          (IN U.:C,~ PLAIN71PFCASE"SONLY)
                                                                                                                                                                                                             --
                                                                                                              NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (IfKnown)




II. BASIS OF JURISDICTION (Pia" a" "X"i,OmBo,onlyJ                                               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an '"X'' in one Box fOr Plainlif..I
                                                                                                          (For /Ji1•ersity Cases Only)                                           and One Boxji;r /)ejimdanl)
01     U.S. Government                    1$3      Federal Question                                                                        PTF     DEF                                          PTF        DEF
           Plaintiff                                 (U.S. Gol'ernment Not a Party)                  Citizen ofThis State                  0 I     0 I      Incorporated or Principal Place      0 4 04
                                                                                                                                                              of Business In This State

0 2 U.S. Government                       04 Diversity                                               Citizen of Another State              0 2      0   2   Inoorporated and Principal Place    0   5    0'
       Defendant                              (Indicate Citizenship of Partie.\" in Item III)                                                                  of Business In Another State

                                                                                                     Citizen or Subject of a               0 3      0   3   Foreign Nation                      0   6    06
                                                                                                       Forei n Country
IV. NATURE OF SUIT !Place an "X" in One Bax Only)

0 l!Oinsurance                              PERSONAL INJURY               PERSONAL INJURY            0 625 Drug Related Seizure              0 422 Appeal28 USC \58          0 375 False Claims Act
0 120 Marine                             0 310 Airplane                 0 365 Personal Injury -            of Property 21 USC 881            0 423 Withdrawal                0 376 Qui Tam (31 USC
0 130 Miller Act                         0 315 Airplane Product               Product Liability      0 690 Other                                   28 usc 157                        3729(a))
0 140 Negotiable Instrument                     Liability               0 367 Health Carel                                                                                   0 400 State Reappmtiomnent
0 !50 Recovery v1
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        (Excludes Veterans)
    153 Recovery of Overpayment
        of Veteran's Benefits
    160 Stockholders' Suits
                                         0 345 Marine Product
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0   196 Franchise                              Injury                   0 385 Property Damage          0 751 Family and Medica!                                              0 891 AgriculMal Acts
                                         0 362 Personallnjrny-                Product Liability                 Leave Act                                                    0 893 Environmental Matters


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0 220 Foreclosure                        0 441 Voting
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                                                                        0 463 Alien Detainee
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                                                                                                                                                      or Defendant)
                                                                                                                                                                             0 896 Arbitration
                                                                                                                                                                             0 899 Administrative Procedure
0 230 Rent Lease & Ejectment             0 442 Employment               0 510 Motions to Vacate                                              0 87llRS-Third Party                   Act/Review or Appeal of
0 240 Torts to Land                      0 443 Housing/                       Sentence                                                                26 usc 7609                   Agency Decision
0 245 Tort Product Liability                   Accommodations           ~ 530 General                                                                                        0 950 Constitutionality of
0 290 All Other Real Property            0 445 Amer. w/Disabi!ities     0 535 Death Penalty                                                                                         State Statutes
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V. ORIGIN (Place an "X"inOneBoxOnfy)
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       Proceeding                    State Court                       Appellate Court               Reopened                   Another District                   Litigation
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                                             Cite tJw U.S_. Civil St;-;~~9)\I"Jder w.llich you are filing (Do not cite jurisdictional statutes unless diversity):
                                            1 ~4~7~U~,,S~-~C~,§~2=2~7~~b~J\~I~JI\~A~)(1~11)~-----------------------------------------------------­
VI. CAUSE OF ACTION rBriefdeseriptionofC~>usa:
                                              Violations of the Telephone Consumer Protection Act
VII. REQUESTED IN     0                             CHECK IF THIS IS A CLASS ACTION                     DEMAND$                                         CHECK YES only if demanded in complaint:
     COMPLAINT:                                     UNDER RULE 23, F.R.Cv.P.                                                                            JURY DEMAND:                M Yes       0 No
VIII. RELATED CASE(S)
                                                (See ins/ru(.'/iom):
      IF ANY                                                            JUDGE                                                                     DOCKET NUMBER
DATE
06/10/2016
FOR OFFICE USE ONLY

    RECEIPT#                         AMOUNT                                     APPLYING IFP                                   JUDGE                               MAG. JUDGE
                ------                          ----------                                      ------                                 ----                                         -------
